JS 44 (Rev. 10/20)                              CIVIL COVER
                            Case 2:21-cv-00046-JAD-NJK       SHEET
                                                       Document 1 Filed 01/08/21 Page 1 of 26
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFF                                                                                         DEFENDANTS
       ANTHONY TORRES                                                                                    GUSTAVO CONCHAS, individually; THE FISHEL
County of Residence of First Listed Plaintiff                         Clark County
                                                                                                         COMPANY, an Ohio Foreign Corporation;
                                                                                                         County of Residence of First Listed Defendant              Yuma County, AZ
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known) H1 LAW GROUP, Joel Z. Schwarz, NV Bar No. 9181,
                                                                                                          701 N. Green Valley Parkway, Suite 200, Henderson, NV 89074
CLARK LAW GROUP, PLLC, C. Jared Clark, NV Bar No. 13672,                                                  Phone: 702-608-3720, Fax: 702-703-1063
6655 W. Sahara Avenue, Suite A212, Las Vegas, NV 89146
Phone: 702-330-3272, Fax: (702) 447-5323

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State         X 1           1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government              X 4 Diversity                                               Citizen of Another State            2     X    2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                             TORTS                              FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits      X    350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             X 2 Removed from                  3       Remanded from              4 Reinstated or             5 Transferred from          6 Multidistrict                 8 Multidistrict
    Proceeding               State Court                           Appellate Court              Reopened                    Another District            Litigation -                    Litigation -
                                                                                                                            (specify)                   Transfer                        Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes
                                        unless diversity): 28 U.S.C. §§ 1332(a), 1441(b) and 1446
VI. CAUSE OF ACTION                    Brief description of cause: Plaintiff Torres's complaint states that while riding his bicycle he was struck by a vehicle being driven by
                                       Defendant Fishel Company employee and co-defendant Conchas.
VII. REQUESTED IN        CHECK IF THIS IS A CLASS ACTION                                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                              JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S) N/A
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
January 8, 2021
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 2 of 26
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                                                          Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 3 of 26




                                                    1 H1 LAW GROUP
                                                      Joel Z. Schwarz, NV Bar No. 9181
                                                    2 joel@h1lawgroup.com
                                                      701 N. Green Valley Parkway, Suite 200
                                                    3 Henderson, NV 89074
                                                      Phone 702-608-3720
                                                    4 Fax     702-703-1063

                                                    5 Attorneys for Defendants

                                                    6                              UNITED STATES DISTRICT COURT

                                                    7                                      DISTRICT OF NEVADA

                                                    8 ANTHONY TORRES,                                      CASE NO.:   2:21-cv-00046

                                                    9                                Plaintiff,
          701 N. Green Valley Parkway, Suite 200




                                                   10         vs.                                          DEFENDANTS THE FISHEL COMPANY
                                                                                                           AND GUSTAVO CONCHAS’
                Henderson, Nevada 89074




                                                   11 GUSTAVO CONCHAS, individually; THE                   NOTICE OF REMOVAL
                    Tel: 702-608-3720




                                                      FISHEL COMPANY, an Ohio Foreign
H1 LAW GROUP




                                                   12 Corporation; DOES 1 through 20, inclusive;
                                                      and ROE BUSINESS ENTITIES 1 through 20,
                                                   13 inclusive,

                                                   14                                Defendants.

                                                   15

                                                   16         Defendants The Fishel Company (“Fishel”) and Gustavo Conchas (“Conchas” and,

                                                   17 together, “Defendants”), by and through their undersigned counsel, hereby remove the above-

                                                   18 captioned case to the United States District Court for the District of Nevada. The grounds for
                                                   19 removal are as follows:

                                                   20         1.      This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1441(b) and 1446 for

                                                   21 removal of the case titled Anthony Torres v. Gustavo Conchas and The Fishel Company, Case

                                                   22 No. A-20-825393-C, now pending in the Eighth Judicial District Court, Clark County, Nevada.

                                                   23         2.      On November 24, 2020, Plaintiff commenced this action in the Eighth Judicial

                                                   24 District Court, Clark County, Nevada, as Case No. A-20-825393-C.

                                                   25         3.      On December 21, 2020, Defendant Fishel’s registered agent in Nevada was

                                                   26 served with the Summons and Complaint, copies of which are attached hereto as Exhibit A.

                                                   27         4.      On December 23, 2020, Defendant Conchas was served with the Summons and

                                                   28 Complaint at his residence in Yuma, Arizona, copies of which are attached hereto as Exhibit B.

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                                                          Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 4 of 26




                                                    1          5.     Defendant Fishel is and was at all relevant times an Ohio corporation whose

                                                    2 corporate office and principal place of business is in Columbus, Ohio.

                                                    3          6.     Defendant Conchas is and was at all relevant times an individual residing in

                                                    4 Yuma, Arizona.

                                                    5          7.     The matter in controversy exceeds the sum of $75,000, exclusive of interest and

                                                    6 costs.

                                                    7          8.     This Court has jurisdiction over this matter based on diversity of citizenship under

                                                    8 28 U.S.C. § 1332(a).

                                                    9          9.     This notice is timely filed in accordance with the provisions of 28 U.S.C.
          701 N. Green Valley Parkway, Suite 200




                                                   10 § 1446(b) because it is within 30 days after receipt by or service on the Defendants of the initial
                Henderson, Nevada 89074




                                                   11 pleading or summons. Further, all Defendants consent to removal.
                    Tel: 702-608-3720
H1 LAW GROUP




                                                   12          10.    Defendants do not, by filing this notice, waive any defenses available under Fed.

                                                   13 R. Civ. P. 12(b) or other applicable law.

                                                   14          11.    A copy of this notice will be served promptly on Plaintiff and filed with the Clerk

                                                   15 of the Eighth Judicial District Court, Clark County, Nevada.

                                                   16          WHEREFORE, Defendants give notice that the written action is removed to the United

                                                   17 States District Court for the District of Nevada.

                                                   18          Respectfully submitted this 8th day of January 2021.

                                                   19                                                         H1 LAW GROUP

                                                   20

                                                   21                                                         Joel Z. Schwarz, NV Bar No. 9181
                                                                                                              joel@h1lawgroup.com
                                                   22                                                         701 N. Green Valley Parkway, Suite 200
                                                                                                              Henderson, NV 89074
                                                   23                                                         Phone 702-608-3720
                                                   24                                                         Fax     702-703-1063

                                                   25                                                         Attorneys for Defendants

                                                   26

                                                   27

                                                   28

                                                                                                          2
                                                          Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 5 of 26




                                                    1                                  CERTIFICATE OF SERVICE

                                                    2         The undersigned, an employee of H1 Law Group, hereby certifies that on the 8th day of

                                                    3 January 2021, she electronically filed and served the foregoing NOTICE OF REMOVAL with

                                                    4 the Clerk of the Court for the United States District Court for the District of Nevada using the

                                                    5 CM/ECF system.

                                                    6

                                                    7                                               Karen M. Morrow, an employee of H1 LAW GROUP

                                                    8

                                                    9
          701 N. Green Valley Parkway, Suite 200




                                                   10
                Henderson, Nevada 89074




                                                   11
                    Tel: 702-608-3720
H1 LAW GROUP




                                                   12

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Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 6 of 26




            EXHIBIT A




   Summons and Complaint
   Served Upon Defendant
     The Fishel Company
         Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 7 of 26
L


    ^ CT Corporation                                                                                       Service of Process
                                                                                                           Transmittal
                                                                                                           12/21/2020
                                                                                                           CT Log Number 538777140
       TO:         Kathy Blacks tone, Tax Manager
                   The Fishel Company
                   1366 Dublin Rd
                   Columbus, OH 43215-1093

       RE:          Process Served In Nevada

       FOR;        The Fishel Company (Domestic State: OH)




       ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OP THE ABOVE COMPANY AS FOLLOWS:

       TITLE OF ACTION:                                  Anthony Torres, Pltf. vs. Gustavo Conchas, etc., et at., Dfts. // To: The Fishel
                                                         Company
       DOCUMENT(S) SERVED:

       COURT/AGENCY:                                     None Specified
                                                         Case « A20825353C
       ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Carson City, NV
       DATE AND HOUR OF SERVICE:                         By Process Server on 12/21/2020 at 01:27
       JURISDICTION SERVED :                             Nevada
       APPEARANCE OR ANSWER DUE:                         None Specified
       ATTORNEY(S) I SENDER(S):                          None Specified
       ACTION ITEMS:                                     SOP Papers with Transmittal, via UPS Next Day Air, 1ZX212780134363806

       REGISTERED AGENT ADDRESS;                         C T Corporation System
                                                         701 S Carson Slreet
                                                         Suite 200
                                                         Carson City, NV 89701
                                                         866-539-8692
                                                         CorporationTeam@wolterskluwer.com
       The information contained In this Transmittal is provided by CT for quick reference or-.y it does not constitute a legal opinion, and should not otherwise be
       relied on, as to the nature of action the amount of damages, the answer date, or any other information contained in the included documents The reciplent(s)
       of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
       advisors as necessary CT disclaims all liability for the Information contained in this form inc .ud ng for any omissions or inaccuracies that may be contained
       therein.




                                                                                                          Page 1 of 1 / VS
    Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 8 of 26
»


                                                 Electronically Issued
                                                 11/24/2020 4:09 PM




             SUMM
         1   C. JARED CLARK, ESQ.
    .    2   Nevada Bar No.: 13672
             CLARK LAW GROUP, PLLC                                                   CASE NO: A-20-825393- C
         3   6655 W. Sahara Ave,, Ste. A212
             Las Vegas, NV 89146
                                                                                                Department 4
         4   Phone: (702) 330-3272
             Fax: (702) 447-5323
         5   E-mail: jaredffociclarkIawgrotio.com
         6   Attorneysfor Plaintiff
                                                        DISTRICT COURT
         7
                                                  CLARK COUNTY, NEVADA
         8
         9                                                                                                                  s
             ANTHONY TORRES,                                                                                                :
        10                                                                Case No.                                      i
                                 Plaintiff,                               Dept No.                                      i
        11                                                                                                                  r
             vs.                                                          SUMMONS
        12

        13
             GUSTAVO CONCHAS, individually; THE
             FISHEL COMPANY, an Ohio Foreign
        14   Coiporalion; DOES 1 through 20, inclusive; and
             ROE BUSINESS ENTITIES 1 through 20,
        15   inclusive,
        16             Defendants.
        17   NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
             WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 21 DAYS. READ
        18   THE INFORMATION BELOW.
        19           TO THE DEFENDANT* A Civil Complaint has been filed by the plaintiffs) against you for
             the relief set forth in the Complaint.
        20

        21                                   C T CORPORATION SYSTEM
                                      RESIDENT AGENT FOR THE FISHEL COMPANY
        22                                      701 S. Carson Street #200
                                                 Carson City, NV 89701.
        23                                                                                                              L

        24
                     1.      If you intend to defend this lawsuit, within 21 days after this Summons is served on you
        25   exclusive of the date of service, you must do the following:

        26
                            a.         File wife the Clerk of this Court, whose address is shown below, a formal
        27                             written response to the Complaint in accordance wife the rules of the Court.
        28

                                                                  1

                                               Case Number A-20£25393-C
Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 9 of 26




                      b.      Serve a copy of your response upon the attorney whose name and address is
  1
                              shown below.
  2
              2.      Unless you respond, your default will be entered upon application of the plaintiffs)
  3           and this Court may enter a judgment against you for the relief demanded in the Complaint,
              which could result in the taking of money or property or other relief requested in the
  4           Complaint
  5
              3.     Ifyou intend to seek die advice of an attorney in this matter, you should do so promptly
  6           so that your response may be filed on time. steVen D GRIERSON

  7                                                          CLERK OF COURT
                                                                                             •    11/24/202(
  8
                                                             By:                                  fi/VA.

  9                                                                Deputy cierk Laurie Williams
 10
      Issued at the direction of:
 11
      CLARK LAW GROUP, PLLC
 12

 13    /s/Jared Glark Esa.
      C. JARED CLARK, ESQ.
 14
      6655 W. Sahara Ave., Ste. A212
 15   Las Vegas, NV 89146
      Phone: (702) 330-3272
 16   Fax: (702) 447-5323
      E-mail: iafed@ciclaiklawgrQup.com
 17   Attorneys for Plaintiff
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 19
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Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 10 of 26




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                                                                                   Steven D. Grierson
                                                                                   CLERX OF THE COURT!
                                                                                               }\t

          COMP
      1   C. JARED CLARK, ESQ.
  2       Nevada Bar No.: 13672
          CLARK LAW GROUP, PLLC                                                 CASE NO: A-20-825303 C
  3       6655 W Sahara Ave., Ste. A212                                                    Departmen 4
          Las Vegas, NV 89146
  4       Phone: (702) 330-3272
          Fax: (702) 447-5323
  5
          E-mail: iared@ciclarklawttroup.com
  6       Attorneysfor Plaintiff

  7                                              DISTRICT COURT
  8                                        CLARK COUNTY, NEVADA
  9
          ANTHONY TORRES,
 10                                                             Case No.
                 Plaintiff,                                     Dept No.
 11
          vs.
 12                                                                   COMPLAINT
          GUSTAVO CONCHAS, individually; THE
 13
          FISHEL COMPANY, an Ohio Foreign
 14       Corporation; DOES 1 through 20, inclusive; and
          ROE BUSINESS ENTITIES 1 through 20,
 15       inclusive,
 16              Defendants.
 17
 18             COMES NOW the Plaintiff ANTHONY TORRES, by and through his counsel, C. JARED
 19       CLARK, ESQ. of the law finn of CLARK LAW GROUP, PLLC, and for his causes of action against
 20       die Defendants, and each ofthem, alleges as follows:
 21
                                            PARTIES AND JURISDICTION
 22

 23              1.      At all times relevant hereto, Plaintiff ANTHONY TORRES, (hereinafter “TORRES”),

 24       was an individual residing in the County of Clark, State of Nevada.

 25              2.      At all times relevant hereto, and upon information and belief, Defendant GUSTAVO

 26       CONCHAS (hereinafter “CONCHAS”) was, and still is, an individual residing in the County of

 27        Yuma, State of Arizona.
 28


                                                            1

                                        Case Number A-20-825393-C
Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 11 of 26




      I    operated Jus vehicle, violated Nevada and local statutes, traffic laws, and safety rules pertaining to
      2    the safe operation of motor vehicles, which caused the collision involving Plaintiff, including his
  3        injuries and damaged complained of herein.
  4                14.    The acts and omissions on the part of Defendants CONCHAS, DOES 1 through 20, and
  5        ROE BUSINESS ENTITIES 1 through 20, and eacli ofthem, as set forth herein, were in direct violation
  6        of Nevada Statutes and/or Clark County ordinances, including, but not limited to, MRS 484.324.
  7               15.     At all times herein mentioned, said Nevada Statutes and/or Clark County traffic
  8       ordinances and safety rules were designed and enacted to protect a class of persons, in particular
  9       bicyclists, to which Plaintiff belongs.
 10               16.     Defendants CONCHAS, DOES 1 through 20, and ROE BUSINESS ENTITIES 1
 11       through 20, and each of them, are therefore negligent per se herein.

 12               17.     The injuries suffered by Plauitiff TORRES as a direct and proximate result of the

 13       collision was and is the type drat the statute was intended to protect against.
 14               18.     As a direct and proximate result of the aforesaid negligence and carelessness of

 15       Defendants CONCHAS, DOES 1 through 20, and ROE BUSINESS ENTITIES 1 through 20, and

 16       each ofthem. Plaintiff TORRES was injured in health, strength, and activities, and sustained shock

 17       and injury to his body, nervous system and person, all of which have caused, and will continue to

 18       cause him physical, mental and nervous pain and suffering, disability and loss of enjoyment of life.

 19               19.     As a direct and proximate result of the negligence and carelessness on the part of

 20       Defendants CONCHAS, DOES 1 through 20, and ROE BUSINESS ENTI TIES 1 through 20, and

 21       each ofthem, Plaintiff sustained general and special damages to include medical expenses, possible

 22       future medical expenses, loss of wages, possible future losses of wages, and loss of earning capacity

 23       all in an amount in excess of FIFTEEN THOUSAND DOLLARS (515,000.00).

 24              20.     As a further direct and proximate result of the aforesaid negligence and carelessness

 25       jn the part of Defendants CONCHAS, DOES 1 through 20, and ROE BUSINESS ENTITIES 1

 26       hrough 20, and each of them, it has been necessary for Plaintiff to retain the law firm of CLARK

 27       :„AW GROUP, PLLC, to prosecute this action, and Plaintiff is therefore entitled to recover reasonable
 28


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Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 12 of 26




      1   ittomey’s fees and costs
                                             SECOND CAUSE OF ACTION
   2
                (Negligence; Respondeat Superior as to THE FISHEL COMPANY, DOES 1 through 20,
   3
                                       and ROE BUSINESS ENTITIES 1 through 20)
   4
                   21.    Plaintiff repleads and realleges each and every allegation of the preceding paragraphs
   5
          as though set foith fully hereunder.
   6
                   22.    Plainti ff is informed and believes that at the time of the subject accident, FISHEL was
   7
          the employer and/or had control of its agent CONCHAS.
   8
                   23.    CONCHAS was acting within the course and scope of his duties for FISHEL and on
   9
          behalf of FISHEL at the time ofthe subject collision with TORRES.
  10
                  24.     Under the doctrine of Respondeat Superior, Defendant FISHEL is vicariously liable,
  11
          jointly and severally for the damages suffered by Plaintiff as a direct and proximate result of its
  12
          employees and/or agents’ negligence while driving in the course and scope of his employment.
 13
                  25.    FISHEL through its employees and/or agents, owed a duty to Plaintiff to drive safely
 .14
          and to avoid dangerous and/or reckless conduct
 15
                  26.    FISHEL by and through its employees and/or agents, breached its duties of due care
 16
          by negligently, carelessly and recklessly failing to drive in a save manner which caused damages to
 17
          Plaintiff.
 18
                  27.    As a direct and proximate consequence of FISHEL’s negligence, careless and reckless
 19
          breach of duty, Plaintiff sustained general and special damages to include medical expenses, possible
 20
          future medical expenses, loss of wages, possible future losses of wages, and loss of earning capacity
 21
          all in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00).
 22
                  28.    As a direct and proximate consequence of FTSHEL’S negligence, careless and
 23
          reckless breach of duty, it has been necessary for Plaintiff to retain the law firm of CLARK LAW
 24
          GROUP, PLLC, to prosecute this action, and Plaintiff is therefore entitled to recover reasonable
 25
          attorney’s fees and costs.
 26
          ///
 27
 28       ///


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Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 13 of 26




                                          THIRD CAUSE OF ACTION
  1
              (Negligent Entrustment as to Defendant THE FISHEL COMPANY, DOES 1 through
  2
      20, and ROES BUSINESS ENTITIES 1 through 20)
  3
              29.    Plaintiff incorporates by reference each and every allegation previously made in this
  4
      Complaint as if fully set forth herein.
  5
              30.   These Defendants owed a duty of care to the Plaintiff not to entrust the operation of
  6
      the vehicle to someone they know or had reason to know was unfit to safely perform that operation.
  7
  8           31.   Upon information and belief, these Defendants breached that duty by entrusting the

  9   operation of the vehicle to Defendant CONCHAS, though they knew or should have known
 10   Defendant CONCHAS was unfit to safely operate the vehicle.
 11
              32.   Additionally, upon information and belief, one or more of these Defendants was
 12
      responsible in some manner for the vehicle’s condition, maintenance, repair, and operation.
 13
             33.    Upon information and belief, one or more of these Defendants owed a duty of care to
 14

 15   Plaintiff to ensure the vehicle was properly maintained and repaired in such a condition so as to not

 16   create an unreasonable risk of harm on the public roadways during its operation.

 17           34. Upon information and belief, one or more of these Defendants breached that duty of
 18   care by entrusting the vehicle described herein to Defendant CONCHAS while in an unsafe
 19
      condition.
 20
             35.    As a direct result of these Defendants’ breaching their respective duties to Plaintiff, the
 21
      Plaintiff was injured in the collision.
 22
 23          36.    As a result, Plaintiff have experienced pain and suffering associated with physical

 24   injuries caused by the collision, which have required medical treatment. These general damages are
 25   in excess of $15,000.00.
 26           37.   As a further direct and proximate result, Plaintiff have incurred expenses for medical
 27
 28   care and treatment in an amount to be proven at trial.


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Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 14 of 26




               38.   Plaintiff has been forced to retain the services of an attorney to represent him in this
   1
   2   action and are, therefore, entitled to recover reasonable attorneys’ fees and costs of

   3   litigation.
   4                                      FOURTH CAUSE OF ACTION
               (NegKgent Hiring, Training, Supervision and Retention as to Defendant THE FISHEL
   5
       COMPANY DOES 1 through 20, and ROES BUSINESS ENTITIES 1 through 20)
   6
               39. Plaintiff incorporates by reference each and every allegation previously made in tins
   7
                                                                                                                f
       Complaint as if fully set forth herein.
   8
  9            40. These Defendants owed a duty of care to Plaintiff to use reasonable care in hiring.
                                                                                                                i
 10    training, and supervising individuals, such as Defendant CONCHAS, to whom they would provide

 11    vehicles for use upon the public roadways, to ensure these individuals were fit for the purpose for
  >2   which vehicles were provided.
 13
               41, These Defendants knew or should have known that Defendant CONCHAS was unfit to
 14
       safely operate a vehicle upon the public roadways without reasonable training and supervision to
 15
       reduce the risk of motor vehicle collisions.
 16
 17            42. These Defendants breached their duty to Plaintiff by failing to reasonably hire, train,

 18    and supervise Defendant CONCHAS regarding his use and operation of the vehicle which they had

 19    entrusted to operate.
 20            43. These Defendants breached their duty to Plaintiff by continuing to retain Defendant
 21
       CONCHAS and allowing him use and operation of the vehicle which they had entrusted to him.
 22
               44. As a proximate result of these Defendants’ breach of their duty. Defendant CONCHAS
 23
       caused the motor vehicle collision described herein, causing Plaintiffs injunes.
 24

 25            45. As a proximate result of the collision, Plaintiff was injured causing him pain and

 26    suffering of both body and mind.
 27
 28


                                                           7
Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 15 of 26




              46. These Defendants knew or should have known that Defendant CONCHAS was unfit to
  1

  2   safely operate the vehicle upon the public roadway before offering him a position of employment.

  3          47, Plaintiff reasonably sought medical care and treatment to relieve the pain and injury he
  4   sustained in the motor vehicle collision, incurring the medical costs and charging incidental to such
  5
      treatment
  6
             48. Plaintiff has been forced to retain the services of an attorney to represent him in this
  7
      action and is therefore entitled to a recovery of reasonable attorney’s fees and costs of litigation.
  8
             WHEREFORE, Plaintiff ANTHONY TORRES, prays for reliefagainst the Defendants, and
  9

 10   each of them, as follows:

 1!                                       ALL CLAIMS FOR RELIEF:
 12          1. For past and future general damages and loss in an amount in excess of $15,000.00;
 13          2. For past and future special damages, in an amount to be determined;
 14          3. For reasonable attorneys’ fees, pre and post judgment interest and costs of suit;
 15          4. For damages for loss of income and/or future earning capacity in an amount to be proven
 16               at the time of trial;
 17          5. For such other and further relief as to the Court may seem just and proper.
 18

 19          DATED this 24,h day of November, 2020.           CLARK LAW GROUP, PLLC
 20

 21
 72                                                                        d£Af£i£ ESQ.
                                                              Nevada Bar No. 13672
 23                                                           6655 W. Sahara Ave., Ste, A212
                                                              Las Vegas, NV 89146
 24
                                                              Attorneysfor Plaintiff
 25

 26

 27
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Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 16 of 26




             EXHIBIT B




   Summons and Complaint
   Served Upon Defendant
      Gustavo Conchas
Case 2:21-cv-00046-JAD-NJK Document 1 Filed 01/08/21 Page 17 of 26

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